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                   1   [Counsel identified on signature pages]

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               11                                UNITED STATES DISTRICT COURT

               12                         FOR THE NORTHERN DISTRICT OF CALIFORNIA

               13                                         SAN JOSE DIVISION

               14      NATIONAL URBAN LEAGUE, et al.,                  CASE NO. 5:20-cv-05799-LHK
               15
                                                     Plaintiffs,       STIPULATION AND [PROPOSED]
               16                    v.                                ORDER

               17      WYNN COGGINS, et al.,
               18                                    Defendants.
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                   1             Pursuant to Civil Local Rules 6-2 and 7-12, the parties to this action, by their respective

                   2   counsel, respectfully submit the following Joint Stipulation, and respectfully request that the

                   3   Court issue the following order:

                   4             WHEREAS, on January 15, 2021, the Court entered the parties’ Stipulation and Order

                   5   Regarding Census and Population Counts and 21-Day Stay of Proceedings (“January 15

                   6   Stipulation and Order”), ECF No. 456;

                   7             WHEREAS, the January 15 Stipulation and Order provided for a 21-day stay of this case,

                   8   beginning January 15, 2021 and ending February 5, 2021;

                   9             WHEREAS, the parties have engaged in good-faith discussions concerning the potential

               10      resolution of this case, and the parties have reached agreement on key portions of Plaintiffs’

               11      claims;

               12                WHEREAS, the parties believe that the public interest would be served by staying all

               13      proceedings in this litigation for 21 additional days while the parties continue their discussions

               14      concerning the potential resolution of this case;

               15                WHEREAS, Plaintiffs are amenable to a 21-day stay, based on Defendants’ express

               16      acknowledgments and representations below, provided to ensure that Plaintiffs are not prejudiced

               17      in any way by a stay.

               18                NOW, THEREFORE, DEFENDANTS HEREBY REPRESENT AND STIPULATE AS

               19      FOLLOWS:

               20                1.     On January 20, 2021, President Biden signed Executive Order 13986, which

               21      revoked (a) Executive Order 13880 (“Collecting Information About Citizenship Status in

               22      Connection With the Decennial Census”) and (b) the Presidential Memorandum of July 21, 2020

               23      (“Excluding Illegal Aliens from the Apportionment Base Following the 2020 Census”). Exec.

               24      Order No. 13986, 86 Fed. Reg. 7015 (Jan. 25, 2021). Consistent with Executive Order 13986,

               25      the tabulation of total population by States based on 2020 Census data and described by 13

               26      U.S.C. § 141(b), and the P.L. 94-171 Redistricting Summary Data File based on 2020 Census

               27      data and described by 13 U.S.C. § 141(c), will not include or otherwise incorporate any

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                   1   information on citizenship or immigration status, nor will such counts or data products be

                   2   affected by any information on citizenship or immigration status.

                   3          2.      The Census Bureau is currently scheduled to release the results of the 2020

                   4   Census by April 30, 2021. As in prior censuses, the Census Bureau may wish to release the

                   5   results a short period before the scheduled release date. However, the Census Bureau will not

                   6   under any circumstances report the results of the 2020 Census to the Secretary of the Department

                   7   of Commerce, the President, and Congress, before April 16, 2021. This schedule is equivalent to

                   8   the COVID-19 plan timeline for data processing sought by Plaintiffs’ Second Amended

                   9   Complaint.

               10             FURTHER, THE PARTIES JOINTLY STIPULATE, AND RESPECTFULLY

               11      REQUEST THAT THE COURT ORDER, AS FOLLOWS:

               12             1.      That the Court enter a 21-day stay of this case, effective beginning February 5,

               13      2021 and ending on February 26, 2021, with any deadlines currently due February 5, 2021

               14      becoming due on February 26, 2021, and all other deadlines commensurately shifted;

               15             2.      That the Court enter a 21-day stay of proceedings related to Plaintiffs’ Renewed

               16      Motion to Compel, see ECF Nos. 462, 463, 464, to be coextensive with the requested stay of the

               17      case as a whole;

               18             3.      That the Court continue the Case Management Conference currently scheduled

               19      for Friday, February 5, 2021, until Friday, February 26, 2021;

               20             4.      That, should the parties not reach earlier resolution, the case shall restart on

               21      February 26, 2021 under the same schedule currently in place; and

               22             5.      Defendants will not, on the grounds of any stay, resist or challenge Plaintiffs

               23      taking any of the depositions currently noticed or producing any of the documents and materials

               24      Defendants currently are obligated to produce, but Defendants may assert the objections that they

               25      would have had in the normal course.

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                   1                                 [PROPOSED] ORDER

                   2       The stipulation is GRANTED.

                   3       PURSUANT TO THE PARTIES’ STIPULATION, IT IS SO ORDERED.

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                   5          February 3, 2021
                       DATED: ____________________           ____________________________
                                                             Lucy H. Koh
                   6                                         United States District Judge

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